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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


    CHICAGO BRIDGE & IRON COMPANY N.V.,
    AND CB&I UK LIMITED,

                            Petitioners,
                                                                        Case No.: 1:23-cv-04825
          v.

    REFINERÍA DE CARTAGENA S.A.,

                            Respondent.


      DECLARATION OF STEPHEN B. SHAPIRO IN SUPPORT OF PETITIONERS’
                PETITION TO VACATE ARBITRATION AWARD

         STEPHEN B. SHAPIRO declares pursuant to 28 U.S.C. § 1746:

         1.       I am an attorney-at-law of the State of New York and a partner at Holland & Knight

LLP, attorneys for Petitioners Chicago Bridge & Iron Company N.V. and CB&I UK Limited

(together, “Petitioners” and with nonparty CBI Colombiana S.A. (“CBI Colombiana”), “CB&I”). I

submit this declaration in support of CB&I’s Petition to Vacate the Arbitration Award and to

supply the Court with certain documents and information supporting CB&I’s Petition. 1

         2.       Attached as Exhibit 01 is a copy of the Final Award, dated June 2, 2023, in the

International Court of Arbitration of the International Chamber of Commerce, Case No.

21747/RD.

         3.       Attached as Exhibit 02 is a copy of Tribunal Letter No. A-44, dated August 31,

2018.


1
  Respondent Refinería de Cartagena S.A.S. (“Reficar”) is a Colombian entity and Spanish is the native language of
Reficar’s management. As a result, a number of exhibits contain Spanish language text. Certain exhibits contain the
translations provided to the Arbitral Tribunal during the pendency of the Arbitration. To the extent such existing
translations are not available, English translations of these exhibits are being prepared and will be provided as soon
as they are available.
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        4.     Attached as Exhibit 03 is a copy of the 2010 EPC Contract, Supporting

Documentation (Including DRA, Coordination Agreement, and Amendment), denominated as Ex.

JX-7 in the Arbitration.

        5.     Attached as Exhibit 04 is a copy of the 2010 EPC Contract, Onshore Contract,

Section I & II and Annexes, denominated as Ex. JX-2 in the Arbitration.

        6.     Attached as Exhibit 05 is a copy of the 2010 EPC Contract, Onshore Contract,

Section IV, denominated as Ex. JX-3 in the Arbitration.

        7.     Attached as Exhibit 06 is a copy of the 2010 EPC Contract, Offshore Contract,

Section I & II and Annexes, denominated as Ex. JX-4 in the Arbitration.

        8.     Attached as Exhibit 07 is a copy of the 2010 EPC Contract, Offshore Contract,

Section IV, denominated as Ex. JX-5 in the Arbitration.

        9.     Attached as Exhibit 08 is a copy of the 2010 EPC Contract, Onshore & Offshore

Contracts, Section III, denominated as Ex. JX-6 in the Arbitration.

        10.    Attached as Exhibit 09 is a copy of the Request for Arbitration, dated March 8,

2016.

        11.    Attached as Exhibit 10 is a copy of excerpts from the EPC Contract Renegotiation

Presentation, Attachment 1 to Reficar Board Meeting Minutes No. 87, dated May 7, 2012,

denominated as Ex. R-626 in the Arbitration.

        12.    Attached as Exhibit 11 is a copy of Reficar Board Meeting Minutes No. 104, dated

January 24, 2013, denominated as Ex. R-1420 in the Arbitration.

        13.    Attached as Exhibit 12 is a copy of the Reficar board presentation titled "CBI-

Reficar Claim", dated September 11, 2013, denominated in the arbitration as Ex. R-1853, Fiscal




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Liability File in the Contraloría Proceeding, Carpeta No. 1, Folio No. 14, Anexo No. 7 -

Reclamación Reficar - CBI.pptx.

       14.    Attached as Exhibit 13 is a copy of excerpts from Attachment 4 to Reficar Board

Meeting Minutes No. 174, dated March 1, 2016, denominated as Ex. R-2577 in the Arbitration.

       15.    Attached as Exhibit 14 is a copy of the Witness Statement of Masoud Deidehban,

dated March 16, 2018, denominated as submission no. R 10 in the Arbitration.

       16.    Attached as Exhibit 15 is a copy of an article from RCN Radio, Comptroller’s

Office Initiates Audit to Establish Those Responsible for Cost Overruns at Reficar, dated January

26, 2016, denominated as Ex. R-97 in the Arbitration.

       17.    Attached as Exhibit 16 is a copy of an article from Dinero, The Judicial Battles

Reficar is Facing, dated April 2, 2016, denominated as Ex. R-117 in the Arbitration.

       18.    Attached as Exhibit 17 is a copy of an article from Reuters, Colombia to complain

to CB&I about multi-billion-dollar refinery overruns, dated February 10, 2016, denominated as

Ex. R-3301 in the Arbitration.

       19.    Attached as Exhibit 18 is a copy of Contraloría Press Release No. 35, dated March

13, 2017, denominated as Ex. R-452 in the Arbitration.

       20.    Attached as Exhibit 19 is a copy of excerpts from CBI's Exhaustive Statement of

Defense, dated June 28, 2019.

       21.    Attached as Exhibit 20 is a copy of the Resolution of the Superintendencia de

Sociedades, dated September 14, 2016.

       22.    Attached as Exhibit 21 is a copy of CB&I Letter No. R-110, dated June 29, 2020,

and Exhibit 1 thereto (SOC Order dated May 6, 2020).




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        23.    Attached as Exhibit 22 is a copy of CB&I Letter No. R-123, dated September 15,

2020.

        24.    Attached as Exhibit 23 is a copy of Reficar Letter No. C-038, dated May 30, 2018,

and Exhibit 1 thereto, Reficar Letter dated April 30, 2018.

        25.    Attached as Exhibit 24 is a copy of CB&I Letter No. R-51, dated May 14, 2018,

and Exhibits 1 and 2 thereto.

        26.    Attached as Exhibit 25 is a copy of Procedural Order No. 3, dated December 19,

2018.

        27.    Attached as Exhibit 26 is a copy of Reficar Letter No. C-214, dated May 13, 2021.

        28.    Attached as Exhibit 27 is a copy of Reficar Letter No. C-220, dated May 20, 2021

        29.    Attached as Exhibit 28 is a copy of excerpts from the Hearing Transcript for May

19, 2021.

        30.    Attached as Exhibit 29 is a copy of excerpts from the Hearing Transcript for July

16, 2021.

        31.    Attached as Exhibit 30 is a copy of Tribunal Letter No. A-78, dated November 25,

2019.

        32.    Attached as Exhibit 31 is a copy of CB&I Letter No. R-101, dated January 20,

2020.

        33.    Attached as Exhibit 32 is a copy of Tribunal Letter No. A-117, dated October 20,

2020.

        34.    Attached as Exhibit 33 is a copy of Tribunal Letter No. A-145, dated March 22,

2021.




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        35.    Attached as Exhibit 34 is a copy of CB&I Letter No. R-151, dated December 16,

2020.

        36.    Attached as Exhibit 35 is a copy of CB&I Letter No. R-174, dated March 15, 2021.

        37.    Attached as Exhibit 36 is a copy of excerpts from the Long International Report,

dated March 16, 2018.

        38.    Attached as Exhibit 37 is a copy of the Long International Report, Appendix 7D,

dated March 16, 2018.

        39.    Attached as Exhibit 38 is a copy of excerpts from the Long International Rebuttal

Report, dated June 28, 2019.

        40.    Attached as Exhibit 39 is a copy of excerpts from the Hearing Transcript for July

2, 2021.

        41.    Attached as Exhibit 40 is a copy of a Reficar Letter, dated February 18, 2020,

denominated as Ex. C-104 in the Arbitration.

        42.    Attached as Exhibit 41 is a copy of Reficar’s Hearing Summary Submission, dated

April 30, 2021.

        43.    Attached as Exhibit 42 is a copy of excerpts from Reficar's Exhaustive Statement

of Claim, dated March 16, 2018.

        44.    Attached as Exhibit 43 is a copy of Appendix 7N to the expert report of Reficar’s

expert Long International, dated March 16, 2018.

        45.    Attached as Exhibit 44 is a copy of the Ready for Start-Up Certificates, excerpted

from exhibits denominated as Ex. R-1851_148_00001 through R-1851_148_00035 in the

Arbitration.




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        46.   Attached as Exhibit 45 is a copy of the Witness Statement of Christian Mantilla,

denominated submission 19A in the Arbitration.

        47.   Attached as Exhibit 46 is a copy of the Email from Christian Mantilla to Richard

Bramwell and others, dated April 5, 2013, denominated as Ex. R-1853_0049 in the Arbitration.

        48.   Attached as Exhibit 47 is a copy of the Witness Statement of Alfred Jones, dated

August 24, 2020, denominated as submission R 65 in the Arbitration.

        49.   Attached as Exhibit 48 is a copy of an email from Christian Mantilla dated

November 27, 2012, denominated in the Arbitration as Ex. R-1853, Fiscal Liability File in the

Contraloría Proceeding, Carpeta No. 114, Folio No. 22828, Anexo No. 104.

        50.   Attached as Exhibit 49 is a copy of the PCIB Letter, dated September 11, 2020,

denominated as Ex. R-4135 in the Arbitration.

        51.   Attached as Exhibit 50 is a copy of Excerpts from Andrés Riera’s Supplemental

Free Version, dated October 24, 2020, denominated as Ex. R-4145 in the Arbitration.

        52.   Attached as Exhibit 51 is a copy of excerpts from the Free Version of Christian

Mantilla as legal representative of Process Consultants Inc., dated November 7, 2017, denominated

as Ex. R-1853_0039 in the Arbitration.

        53.   Attached as Exhibit 52 is a copy of the Witness Statement of Andres Riera, dated

March 8, 2018, denominated as submission no. C 26 in the Arbitration.

        54.   Attached as Exhibit 53 is a copy of the Supplemental Witness Statement of

Christian Mantilla, dated June 19, 2019, denominated as submission no. C 19B in the Arbitration.

        55.   Attached as Exhibit 54 is a copy of Tribunal Letter No. A-154, dated April 27,

2021.

        56.   Attached as Exhibit 55 is a copy of CB&I Letter No. R-203, dated May 13, 2021.




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        57.   Attached as Exhibit 56 is a copy of CB&I Letter No. R-209, dated May 21, 2021.

        58.   Attached as Exhibit 57 is a copy of an Email from Adam Gray, dated May 21,

2021.

        59.   Attached as Exhibit 58 is a copy of CB&I’s Answer to Request for Arbitration and

Counterclaim, dated May 25, 2016.

        60.   Attached as Exhibit 59 is a copy of CB&I Letter No. R-13, dated October 20, 2016.

        61.   Attached as Exhibit 60 is a copy of Procedural Order No. 1, dated November 29,

2016.

        62.   Attached as Exhibit 61 is a copy of CB&I Letter No. R-27, dated May 30, 2017.

        63.   Attached as Exhibit 62 is a copy of CB&I Letter No. R-31, dated July 6, 2017.

        64.   Attached as Exhibit 63 is a copy of CB&I Letter No. R-39, dated January 3, 2018.

        65.   Attached as Exhibit 64 is a copy of excerpts from Reficar's Non-Exhaustive

Statement of Claim, dated April 28, 2017.

        66.   Attached as Exhibit 65 is a copy of CB&I Letter No. R-26, dated May 19, 2017,

from which attachments have been omitted for brevity.

        67.   Attached as Exhibit 66 is a copy of the ICC COMMISSION REPORT,

Construction Industry Arbitrations, Recommended Tools and Techniques for Effective

Management, 2019 Update.

        68.   Attached as Exhibit 67 is a copy of Tribunal Letter No. A-74, dated October 28,

2019.

        69.   Attached as Exhibit 68 is a copy of Tribunal Letter No. A-85, dated January 10,

2020.

        70.   Attached as Exhibit 69 is a copy of CB&I Letter No. R-165, dated March 1, 2021.




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        71.   Attached as Exhibit 70 is a copy of CB&I Letter No. R-90, dated November 16,

2019.

        72.   Attached as Exhibit 71 is a copy of CB&I Letter No. R-70, dated April 4, 2019.

        73.   Attached as Exhibit 72 is a copy of CB&I Letter No. R-109, dated June 1, 2020.

        74.   Attached as Exhibit 73 is a copy of CB&I Letter No. R-132, dated October 7, 2020.

        75.   Attached as Exhibit 74 is a copy of CB&I Letter No. R-135, dated October 7, 2020.

        76.   Attached as Exhibit 75 is a copy of Joint Reficar & CB&I Letter No. C-183 & R-

179, dated March 22, 2021.

        77.   Attached as Exhibit 76 is a copy of Joint Reficar & CB&I Letter No. C-197 & R-

191, dated April 16, 2021.

        78.   Attached as Exhibit 77 is a copy of Joint Reficar & CB&I Letter No. C-198 & R-

192, dated April 19, 2021.

        79.   Attached as Exhibit 78 is a copy of the Witness Statement of Carlos Bustillo, dated

January 30, 2018, denominated as submission no. C 6 in the Arbitration.

        80.   Attached as Exhibit 79 is a copy of Tribunal Letter No. A-149, dated April 1, 2021.

        81.   Attached as Exhibit 80 is a copy of an excerpt from Reficar’s Post-Hearing Brief,

dated October 22, 2021, and excerpts from the attached Claimant’s Post-Hearing Brief.

        82.   Attached as Exhibit 81 is a copy of excerpts from Claimant's Second Block

Opening Presentation, denominated as Ex. H-018 in the Arbitration.

        83.   Attached as Exhibit 82 is a copy of excerpts from the Hearing Transcript for May

18, 2021.

        84.   Attached as Exhibit 83 is a copy of excerpts from the Hearing Transcript for June

28, 2021.




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        85.   Attached as Exhibit 84 is a copy of excerpts from the Closing Arguments

Transcript for November 18, 2021.

        86.   Attached as Exhibit 85 is a copy of CB&I Letter No. R-187, dated April 5, 2021.

        87.   Attached as Exhibit 86 is a copy of Tribunal Letter No. A-150, dated April 12,

2021.

        88.   Attached as Exhibit 87 is a copy of the signed Terms of Reference, dated October

28, 2016.

        89.   Attached as Exhibit 88 is a copy of Tribunal Letter No. A-105, dated September 7,

2020.

        90.   Attached as Exhibit 89 is a copy of Reficar Letter No. C-14, dated October 20,

2016.

        91.   Attached as Exhibit 90 is a copy of a letter from the Tribunal (not numbered), dated

April 25, 2019 (attachments omitted for brevity)

        92.   Attached as Exhibit 91 is a copy of a joint email from Reficar and CB&I (not

numbered), dated July 22, 2019.

        93.   Attached as Exhibit 92 is a copy of a Reficar email (not numbered), dated August

27, 2019.

        94.   Attached as Exhibit 93 is a copy of Joint Letter No. C-85 & R-89 from Reficar and

CB&I, dated November 16, 2019.

        95.   Attached as Exhibit 94 is a copy of the 2012 ICC Rules of Arbitration.

        96.   Attached as Exhibit 95 is a copy of CB&I Letter No. R-117, dated August 7, 2020.


DATED:        June 8, 2023
              Washington, D.C.
                                                           /s/ Stephen B. Shapiro
                                                          STEPHEN B. SHAPIRO


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